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                      UNITED STATES DISTRICT COURT
            WESTERN DISTRICT OF TENNESSEE
                  WESTERN DIVISION


BIG BROTHERS BIG SISTERS                        JUDGMENT IN A CIVIL CASE
OF GREATER MEMPHIS, INC.

v.

TRUMBULL INSURANCE COMPANY                      CASE NO: 10-2146-A




DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.


IT IS SO ORDERED AND ADJUDGED       that in accordance with the
Stipulation Of Dismissal entered on October 28, 2010, this cause is
hereby dismissed with prejudice.




APPROVED:


s/ S. Thomas Anderson
UNITED STATES DISTRICT COURT

DATE: 11/5/2010                               THOMAS M. GOULD
                                         Clerk of Court


                                                s/Terry L. Haley
                                         (By)    Deputy Clerk
